                                                                                                                                        06/18/2024 04:53:10pm
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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS

 Case number (if known):                                    Chapter       7
                                                                                                                  Check if this is an
                                                                                                                     amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                       06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Techdash Communications, LLC

2.   All other names debtor used       fka Goodman Communication Services, LLC
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8     5      –      3      1        0    8         6   5     4

4.   Debtor's address                  Principal place of business                                    Mailing address, if different from principal
                                                                                                      place of business

                                       2925 Richmond Ave, Suite 1200                                  P.O. Box 2371
                                       Number        Street                                           Number      Street


                                                                                                      P.O. Box



                                       Houston                            TX       77098              Fredericksburg                  TX      78624-1921
                                       City                               State    ZIP Code           City                            State   ZIP Code


                                                                                                      Location of principal assets, if different
                                       Harris                                                         from principal place of business
                                       County



                                                                                                      Number      Street




                                                                                                      City                            State   ZIP Code

5.   Debtor's website (URL)            www.techdashtelecom.com and www.techdashcommunications.com (no longer active)

6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                                                                                                                06/18/2024 04:53:10pm
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Debtor Techdash Communications, LLC                                                     Case number (if known)

7.   Describe debtor's business        A. Check one:

                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above

                                       B. Check all that apply:

                                        Tax-exempt entity (as described in 26 U.S.C. § 501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)

                                        Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes

                                             2      3      7      1

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
                                        Chapter 9
     A debtor who is a "small           Chapter 11. Check all that apply:
     business debtor" must check
     the first sub-box. A debtor as
                                                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                             recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                             income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                           in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.
                                                          The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).


                                                          A plan is being filed with this petition.
                                                          Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.


                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                        Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                                                                                                                                 06/18/2024 04:53:10pm
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Debtor Techdash Communications, LLC                                                     Case number (if known)

9.   Were prior bankruptcy              No
     cases filed by or against
     the debtor within the last 8       Yes. District Southern District of Texas              When 03/13/2017         Case number 17-31575
     years?                                                                                           MM / DD / YYYY
                                                  District                                     When                    Case number
     If more than 2 cases, attach a
                                                                                                      MM / DD / YYYY
     separate list.
                                                  District                                     When                    Case number
                                                                                                      MM / DD / YYYY

10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes. Debtor See attached.                                           Relationship
    affiliate of the debtor?
                                                    District Southern                                        When           06/18/2024
     List all cases. If more than 1,                                                                                        MM / DD / YYYY
     attach a separate list.                        Case number, if known


                                                    Debtor                                                   Relationship

                                                    District                                                 When
                                                                                                                            MM / DD / YYYY
                                                    Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.


                                        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 3
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Debtor:
Debtor: Techdash
        Techdash Communications,
                 Communications, LLC
                                 LLC

Voluntary
Voluntary Petition No. 10
          Petition No. 10 —– Pending
                             Pending Bankruptcy
                                     Bankruptcy Cases
                                                Cases

   1)
   1) DeBauche
      DeBauche OSP
                 OSP Communications,
                      Communications, LLC  LLC filed
                                                 filed June
                                                       June 18,
                                                             18, 2024
                                                                 2024 —– Southern
                                                                         Southern District
                                                                                  District
   2) Greater Tech Holdings, Inc.  filed  June  18, 2024  – Southern   District
   2) Greater Tech Holdings, Inc. filed June 18, 2024 — Southern District
   3)
   3) Techdash
      Techdash Telecom,
                Telecom, LLC
                          LLC filed
                               filed June
                                      June 18,
                                            18, 2024
                                                2024 —– Southern
                                                         Southern District
                                                                   District
                                                                                                                         06/18/2024 04:53:10pm
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Debtor Techdash Communications, LLC                                              Case number (if known)

12. Does the debtor own or        No
    have possession of any
    real property or personal
                                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
                                          needed.
    property that needs
                                          Why does the property need immediate attention?              (Check all that apply.)
    immediate attention?
                                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                               safety.
                                               What is the hazard?

                                           It needs to be physically secured or protected from the weather.
                                           It includes perishable goods or assets that could quickly deteriorate or lose value without
                                               attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                               related assets or other options).


                                           Other

                                          Where is the property?
                                                                       Number     Street




                                                                       City                                    State        ZIP Code

                                          Is the property insured?

                                           No
                                           Yes. Insurance agency
                                                      Contact name

                                                      Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds
                                  Funds will be available for distribution to unsecured creditors.
                                  After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of           1-49                            1,000-5,000                       25,001-50,000
    creditors
                                  50-99                           5,001-10,000                      50,001-100,000
                                  100-199                         10,001-25,000                     More than 100,000
                                  200-999
15. Estimated assets              $0-$50,000                      $1,000,001-$10 million            $500,000,001-$1 billion
                                  $50,001-$100,000                $10,000,001-$50 million           $1,000,000,001-$10 billion
                                  $100,001-$500,000               $50,000,001-$100 million          $10,000,000,001-$50 billion
                                  $500,001-$1 million             $100,000,001-$500 million         More than $50 billion
16. Estimated liabilities         $0-$50,000                      $1,000,001-$10 million            $500,000,001-$1 billion
                                  $50,001-$100,000                $10,000,001-$50 million           $1,000,000,001-$10 billion
                                  $100,001-$500,000               $50,000,001-$100 million          $10,000,000,001-$50 billion
                                  $500,001-$1 million             $100,000,001-$500 million         More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 7
                                                                     )
    Greater Tech Holdings, Inc.,                                     )
    Techdash Communications, LLC,                                    )
                                                                     )
    Techdash Telecom, LLC, and        1                              )
    DeBauche OSP Communications, LLC.                                )
                                                                     )
    Debtors.                                                         )
                                                                     )

    GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY, AND
       DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS AND
           LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of Financial
Affairs (collectively, the “Statements” and, together with the Schedules, the “Schedules
and Statements”) filed by the Debtors Greater Tech Holdings, Inc., Techdash Communications,
LLC, Techdash Telecom, LLC, and DeBauche OSP Communications, LLC, (collectively, the
“Debtors”) in the United States Bankruptcy Court for the Southern District of Texas (the
“Bankruptcy Court”), were prepared in accordance with section 521 of title 11 of the United States
Code (the “Bankruptcy Code”), rule 1007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”), and rule 1007 of the Bankruptcy Local Rules for the Western District of
Texas by management of the Debtors, with the assistance of the personal and professional advisors
of the Debtors. These documents are compiled and are unaudited.

The Petitions have been signed and the Schedules and Statements will be signed by Wes Hesker,
Chief Liquidating Officer/Vice President Finance of the Debtors. Mr. Hesker has not (nor could
have) personally verified the accuracy of each such statement and representation, including, for
example, statements and representations concerning amounts owed to creditors, classification of
such amounts, and their addresses. In addition, Mr. Hesker has not (nor could have) personally
verified the completeness of the Schedules and Statements, nor the accuracy of any information
contained therein. In reviewing and signing the Schedules and Statements, Mr. Hesker necessarily
relied upon various personnel of the Debtors and the Debtors’ professional advisors and their
efforts, statements, and representations in connection therewith. Although management has made
reasonable efforts to ensure that the Schedules and Statements are accurate and completely based

1
 The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Greater Tech Holdings, Inc., Techdash Communications, LLC, Techdash Telecom, LLC, and
DeBauche OSP Communications, LLC.
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upon information that was available to them at the time of preparation, subsequent information
or discovery thereof may result in material changes to the Schedules and Statements, and
inadvertent errors or omissions may exist.

These Global Notes and Statements of Limitations, Methodology, and Disclaimers Regarding the
Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated by reference
in, and comprise an integral part of all of the Schedules and Statements. The Global Notes should
be referred to and reviewed in connection with any review of the Schedules and Statements. The
Global Notes are in addition to any specific notes contained in any Debtor’s Schedules or
Statements. Disclosure of information in one Schedule, Statement, exhibit, or continuation sheet,
even if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement,
exhibit, or continuation sheet.

Although the Debtors’ management has made every reasonable effort to ensure that the Schedules
and Statements are as accurate and complete as possible under the circumstances based on
information that was available to it at the time of preparation, subsequent information or discovery
may result in material changes to the Schedules and Statements, and inadvertent errors or
omissions may have occurred, some of which may be material. Because the Schedules and
Statements contain unaudited information, which remains subject to further review, verification,
and potential adjustment, there can be no assurance that the Schedules and Statements are
complete. The Debtors reserve all rights to amend the Schedules and Statements from time to
time, in any and all respects, as may be necessary or appropriate, including the right to dispute or
otherwise assert offsets or defenses to any claim reflected in the Schedules and Statements as to
amount, liability, or classification, or to otherwise subsequently designate any claim (“Claim”) as
“disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the Schedules and
Statements shall constitute an admission of any claims or a waiver of any of the Debtors’ rights
with respect to these chapter 11 cases, including issues involving substantive consolidation,
recharacterization, equitable subordination, and/or causes of action arising under the provisions of
chapter 5 of the Bankruptcy Code and other relevant non-bankruptcy laws to recover assets or
avoid transfers. The Debtors and their agents, attorneys, and advisors expressly do not undertake
any obligation to update, modify, revise, or recategorize the information provided herein, or to
notify any third party should the information be updated, modified, revised, or recategorized,
except as required by applicable law or order of the Bankruptcy Court. Any specific reservation
of rights contained elsewhere in the Global Notes does not limit in any respect the general
reservation of rights contained in this paragraph.

All totals that are included in the Schedules and Statements represent totals of all known amounts
included in the Debtors’ books and records. To the extent there are unknown or undetermined
amounts, the actual totals may be different than the listed total, and the difference may be material.
In addition, the amounts shown for total liabilities exclude items identified as “unknown,”
“disputed,” “contingent,” “unliquidated,” or “undetermined,” and, thus, ultimate liabilities may
differ materially from those stated in the Schedules and Statements. To the extent a Debtor is a
guarantor of debt held by another Debtor, the amounts reflected in the Schedules are inclusive of
each Debtor’s guarantor obligations.
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Despite
Despite their    reasonable efforts,
          their reasonable       efforts, the
                                           the Debtors
                                                Debtors maymay notnot have
                                                                       have listed
                                                                              listed all
                                                                                       all of
                                                                                           of their
                                                                                               their causes
                                                                                                       causes of
                                                                                                               of action
                                                                                                                   action oror
potential
potential causes
            causes of of action
                           action against
                                     against third     parties as
                                               third parties     as assets
                                                                      assets inin their
                                                                                   their Schedules
                                                                                           Schedules and  and Statements,
                                                                                                                Statements,
including,
including, without
              without limitation,
                         limitation, avoidance
                                        avoidance actions
                                                     actions arising      under chapter
                                                               arising under      chapter 55 ofof the
                                                                                                   the Bankruptcy
                                                                                                         Bankruptcy CodeCode
and
and actions
     actions under
               under other
                       other relevant
                                relevant non-bankruptcy
                                           non-bankruptcy laws  laws to to recover
                                                                           recover assets.
                                                                                      assets. The
                                                                                                The Debtors
                                                                                                       Debtors reserve
                                                                                                                 reserve all
                                                                                                                           all
of
of their  rights for
   their rights   for any
                       any claims,
                             claims, causes
                                        causes ofof action,
                                                    action, oror avoidance
                                                                  avoidance actions
                                                                                 actions they
                                                                                           they may
                                                                                                  may have,
                                                                                                         have, and    neither
                                                                                                                and neither
these
these Global    Notes nor
       Global Notes      nor the
                              the Schedules
                                   Schedules andand Statements
                                                      Statements shall
                                                                     shall be
                                                                            be deemed
                                                                                deemed aa waiver
                                                                                             waiver of of any
                                                                                                          any such
                                                                                                               such claims,
                                                                                                                     claims,
causes
causes ofof actions,
             actions, oror avoidance
                            avoidance actions
                                          actions oror in
                                                        in any
                                                            any way      prejudice or
                                                                  way prejudice       or impair
                                                                                          impair thethe assertion
                                                                                                         assertion ofof such
                                                                                                                         such
claims.
claims.
                                                                                                                                           06/18/2024
                                                                                                                                           06/18/2024 03:49:32pm
                                                                                                                                                      03:49:32pm
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Debtor Techdash
Debtor Techdash Communications,
                Communications, LLC
                                LLC                                                             Case number
                                                                                                Case number (if
                                                                                                            (if known)
                                                                                                                known)

P|              Request for Relief,
                Request for Relief, Declaration,
                                    Declaration, and
                                                 and Signatures
                                                     Signatures

WARNING -- Bankruptcy
WARNING -- Bankruptcy fraud
                       fraud is
                             is a
                                a serious
                                  serious crime.
                                            crime. Making
                                                     Making a a false
                                                                 false statement
                                                                        statement in
                                                                                   in connection
                                                                                       connection with
                                                                                                   with a
                                                                                                        a bankruptcy
                                                                                                           bankruptcy case
                                                                                                                        case can
                                                                                                                             can result
                                                                                                                                 result in
                                                                                                                                        in fines
                                                                                                                                           fines up
                                                                                                                                                 up to
                                                                                                                                                    to
           $500,000
           $500,000 or
                     or imprisonment
                        imprisonment forfor up
                                            up to
                                                to 20
                                                   20 years,
                                                       years, or
                                                               or both.
                                                                   both. 18
                                                                          18 U.S.C.
                                                                             U.S.C. §§§§ 152,
                                                                                          152, 1341,
                                                                                               1341, 1519,
                                                                                                      1519, and
                                                                                                             and 3571.
                                                                                                                  3571.



17.
17. Declaration
    Declaration and
                 and signature
                     signature of
                               of          
                                           m™ The
                                              The debtor
                                                   debtor requests
                                                             requests relief
                                                                      relief in
                                                                             in accordance
                                                                                accordance with
                                                                                           with the
                                                                                                the chapter
                                                                                                    chapter of
                                                                                                            of title
                                                                                                               title 11,
                                                                                                                     11, United
                                                                                                                         United States
                                                                                                                                States Code,
                                                                                                                                       Code, specified
                                                                                                                                             specified in
                                                                                                                                                       in
    authorized
    authorized representative
                representative                this
                                              this petition.
                                                   petition.
    of
    of debtor
       debtor
                                           
                                           m@ I| have
                                                 have been
                                                      been authorized
                                                           authorized to
                                                                      to file
                                                                         file this
                                                                              this petition
                                                                                   petition on
                                                                                            on behalf
                                                                                               behalf of
                                                                                                      of the
                                                                                                         the debtor.
                                                                                                             debtor.

                                           
                                           m@ I| have
                                                 have examined
                                                       examined the
                                                                  the information
                                                                      information in
                                                                                  in this
                                                                                     this petition
                                                                                          petition and
                                                                                                   and have
                                                                                                       have a
                                                                                                            a reasonable
                                                                                                              reasonable belief
                                                                                                                         belief that
                                                                                                                                that the
                                                                                                                                     the information
                                                                                                                                         information is
                                                                                                                                                     is
                                              true
                                              true and
                                                    and correct.
                                                         correct.


                                           I| declare
                                              declare under
                                                      under penalty
                                                            penalty of
                                                                    of perjury
                                                                       perjury that
                                                                               that the
                                                                                    the foregoing
                                                                                        foregoing is
                                                                                                  is true
                                                                                                     true and
                                                                                                          and correct.
                                                                                                              correct.

                                               Executed on 06/18/2024
                                               Executed on
                                                           MM
                                                           MM //DD/YYYY
                                                                DD / YYYY



                                               X /s/Wes Hesker
                                                   Signature
                                                   Signature of
                                                             of authorized
                                                                authorized representative
                                                                           representative of
                                                                                          of debtor
                                                                                             debtor
                                                   Wes Hesker
                                                   Wes Hesker
                                                   Printed
                                                   Printed name
                                                           name
                                                   Chief
                                                   Chief Liquidating
                                                         Liquidating Officer/VP
                                                                     Officer/VP Finance
                                                                                Finance
                                                   Title
                                                   Title

18. Signature
18. Signature of
              of attorney
                 attorney                      /s/Mark J.
                                             x /S/Mark
                                             X         J. Petrocchi
                                                          Petrocchi                                                    Date 06/18/2024
                                                                                                                       Date 06/18/2024
                                                 Signature
                                                 Signature of
                                                           of attorney
                                                              attorney for
                                                                       for debtor
                                                                           debtor                                           MM  / DD / YYYY
                                                                                                                            MM /DD/YYYY

                                                 Mark
                                                 Mark J.
                                                      J. Petrocchi
                                                         Petrocchi
                                                 Printed
                                                 Printed name
                                                         name
                                                 Griffith,
                                                 Griffith, Jay
                                                           Jay &
                                                               & Michel,
                                                                 Michel, LLP
                                                                         LLP
                                                 Firm
                                                 Firm name
                                                      name
                                                 2200
                                                 2200 Forest
                                                      Forest Park
                                                             Park Blvd.
                                                                  Blvd.
                                                 Number
                                                 Number          Street
                                                                 Street



                                                 Fort
                                                 Fort Worth
                                                      Worth                                                    TX
                                                                                                               TX              76110
                                                                                                                               76110
                                                 City
                                                 City                                                          State
                                                                                                               State           ZIP Code
                                                                                                                               ZIP Code


                                                 (817)
                                                 (817) 926-2500
                                                       926-2500                                                mpetrocchi@lawgjm.com
                                                                                                               mpetrocchi@lawgjm.com
                                                 Contact
                                                 Contact phone
                                                         phone                                                 Email
                                                                                                               Email address
                                                                                                                     address
                                                 15851750
                                                 15851750                                                      TX
                                                                                                               TX
                                                 Bar
                                                 Bar number
                                                     number                                                    State
                                                                                                               State




Official
Official Form
         Form 201
              201                            Voluntary
                                             Voluntary Petition for Non-Individuals
                                                       Petition for Non-Individuals Filing
                                                                                    Filing for
                                                                                           for Bankruptcy
                                                                                               Bankruptcy                                                page
                                                                                                                                                         page 5
